                                         Case 15-21093-jra                         Doc 1          Filed 04/10/15                    Page 1 of 47
B1 (Official Form 1) (04/13)
                                                 United States Bankruptcy Court
                                                NORTHERN DISTRICT OF INDIANA                                                                                     Voluntary Petition
                                                      HAMMOND DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Williams, Jr, Dan Gene

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-6023                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
2142 Schilling Drive
Schererville, IN
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            46375
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Lake
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
2142 Schilling Drive
Schererville, IN
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            46375
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.2.5.1, ID 0409936183)
                                        Case 15-21093-jra                   Doc 1          Filed 04/10/15                 Page 2 of 47
B1 (Official Form 1) (04/13)                                                                                                                                                     Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Dan Gene Williams, Jr
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 Lake County, Indiana                                                                       14-22851                                       8/21/2014
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 Lake County, Indiana                                                                       15-20317                                       2/16/2015
        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:


District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Scott Pyle                                                       4/8/2015
                                                                                                 Scott Pyle                                                             Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                       Case 15-21093-jra                         Doc 1       Filed 04/10/15                 Page 3 of 47
B1 (Official Form 1) (04/13)                                                                                                                                                       Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Dan Gene Williams, Jr
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Dan Gene Williams, Jr
      Dan Gene Williams, Jr
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     4/8/2015
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Scott Pyle                                                                        defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Scott Pyle                                       Bar No.                               have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Erich Pavel III
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 275 Joliet St. Ste 330                                                                      given the debtor notice of the maximum amount before preparing any document
 Dyer, IN 46311                                                                              for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (219) 322-8222
 Phone No.______________________        (219) 322-6675
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     4/8/2015
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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                            Case 15-21093-jra             Doc 1       Filed 04/10/15           Page 4 of 47
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF INDIANA
                                                    HAMMOND DIVISION
In re:   Dan Gene Williams, Jr                                                           Case No.
                                                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                            Case 15-21093-jra             Doc 1     Filed 04/10/15          Page 5 of 47
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF INDIANA
                                                    HAMMOND DIVISION
In re:   Dan Gene Williams, Jr                                                        Case No.
                                                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Dan Gene Williams, Jr
                       Dan Gene Williams, Jr

Date:         4/8/2015
                             Case 15-21093-jra     Doc 1   Filed 04/10/15           Page 6 of 47
B6A (Official Form 6A) (12/07)



In re Dan Gene Williams, Jr                                                  Case No.
                                                                                                                   (if known)



                                           SCHEDULE A - REAL PROPERTY


                                                                                                                Current Value




                                                                                      Husband, Wife, Joint,
                                                                                                                 of Debtor's
                   Description and                          Nature of Debtor's




                                                                                        or Community
                                                                                                                  Interest in
                     Location of                           Interest in Property
                                                                                                              Property, Without    Amount Of
                      Property                                                                                                    Secured Claim
                                                                                                               Deducting Any
                                                                                                               Secured Claim
                                                                                                                or Exemption


 2142 Schilling Drive, Schererville, IN 46375        Homestead                           -                        $155,000.00       $236,903.00




                                                                                  Total:                          $155,000.00
                                                                                  (Report also on Summary of Schedules)
                                 Case 15-21093-jra          Doc 1        Filed 04/10/15         Page 7 of 47
B6B (Official Form 6B) (12/07)




In re Dan Gene Williams, Jr                                                               Case No.
                                                                                                          (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                               Husband, Wife, Joint,
                                                                                                                                       Current Value of
                                                                                                                                       Debtor's Interest




                                                                                                                 or Community
                                                                                                                                          in Property,
                                          None                                                                                         Without Deducting
             Type of Property                                   Description and Location of Property                                     any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption

1. Cash on hand.                                 Cash on hand                                                        -                          $10.00



2. Checking, savings or other finan-             Green Dot Visa Debit Card                                           -                         $100.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              Household goods & furnishings                                       -                       $1,000.00
including audio, video and computer
equipment.

5. Books; pictures and other art          X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Necessary wearing apparel                                           -                          $20.00



7. Furs and jewelry.                             Jewelry                                                             -                         $300.00



8. Firearms and sports, photo-            X
graphic, and other hobby equipment.

9. Interests in insurance policies.       X
Name insurance company of each
policy and itemize surrender or
refund value of each.
                                 Case 15-21093-jra            Doc 1       Filed 04/10/15        Page 8 of 47
B6B (Official Form 6B) (12/07) -- Cont.




In re Dan Gene Williams, Jr                                                               Case No.
                                                                                                               (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 1




                                                                                                                    Husband, Wife, Joint,
                                                                                                                                            Current Value of
                                                                                                                                            Debtor's Interest




                                                                                                                      or Community
                                                                                                                                               in Property,
                                           None                                                                                             Without Deducting
             Type of Property                                   Description and Location of Property                                          any Secured
                                                                                                                                                 Claim or
                                                                                                                                                Exemption


10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,               Debtor's 401k, pension and retirement plans; value unknown              -                           $0.00
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X

17. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to         X
debtor including tax refunds. Give
particulars.
                                 Case 15-21093-jra             Doc 1       Filed 04/10/15        Page 9 of 47
B6B (Official Form 6B) (12/07) -- Cont.




In re Dan Gene Williams, Jr                                                                Case No.
                                                                                                           (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 2




                                                                                                                Husband, Wife, Joint,
                                                                                                                                        Current Value of
                                                                                                                                        Debtor's Interest




                                                                                                                  or Community
                                                                                                                                           in Property,
                                            None                                                                                        Without Deducting
             Type of Property                                    Description and Location of Property                                     any Secured
                                                                                                                                             Claim or
                                                                                                                                            Exemption


19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                 2012 Chevy Traverse                                                -                      $19,000.00
and other vehicles and accessories.
                                                   2001 Ford Expedition (130,000 miles)                               -                       $5,000.00
                                Case 15-21093-jra             Doc 1        Filed 04/10/15           Page 10 of 47
B6B (Official Form 6B) (12/07) -- Cont.




In re Dan Gene Williams, Jr                                                                   Case No.
                                                                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 3




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,
                                              None                                                                                                Without Deducting
             Type of Property                                    Description and Location of Property                                               any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


26. Boats, motors, and accessories.           X

27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          3           continuation sheets attached   Total >                           $25,430.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
                                Case 15-21093-jra              Doc 1        Filed 04/10/15          Page 11 of 47
B6C (Official Form 6C) (4/13)



In re Dan Gene Williams, Jr                                                                    Case No.
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 2142 Schilling Drive, Schererville, IN 46375            Ind. Code § 34-55-10-2(c)(1)                                $0.00            $155,000.00

 Cash on hand                                            Ind. Code § 34-55-10-2(c)(3)                               $10.00                  $10.00

 Green Dot Visa Debit Card                               Ind. Code § 34-55-10-2(c)(3)                             $100.00                 $100.00

 Household goods & furnishings                           Ind. Code § 34-55-10-2(c)(2)                           $1,000.00               $1,000.00

 Necessary wearing apparel                               Ind. Code § 34-55-10-2(c)(2)                               $20.00                  $20.00

 Jewelry                                                 Ind. Code § 34-55-10-2(c)(2)                                $0.00                $300.00

 Debtor's 401k, pension and retirement plans;            Ind. Code § 34-55-10-2(c)(6)                                $0.00                      $0.00
 value unknown

 2012 Chevy Traverse                                     Ind. Code § 34-55-10-2(c)(2)                                $0.00             $19,000.00

 2001 Ford Expedition (130,000 miles)                    Ind. Code § 34-55-10-2(c)(2)                           $5,000.00               $5,000.00




* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                                $6,130.00             $180,430.00
                            Case 15-21093-jra                                          Doc 1          Filed 04/10/15          Page 12 of 47
B6D (Official Form 6D) (12/07)
          In re Dan Gene Williams, Jr                                                                                    Case No.
                                                                                                                                                       (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                    AMOUNT OF          UNSECURED




                                                                                                                                  UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                      CLAIM            PORTION, IF




                                                                                                                                   CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                    DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                      WITHOUT              ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                    DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                        VALUE OF
                                                                                             PROPERTY SUBJECT                                    COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:
ACCT #: 122                                                                       NATURE OF LIEN:
                                                                                  PMSI
Alberts Diamond Jewelers                                                          COLLATERAL:
                                                                                  Jewelry                                                              $533.00             $233.00
711 Main Street                                                 -                 REMARKS:
Schererville, IN 46375



                                                                                  VALUE:                               $300.00
                                                                                  DATE INCURRED:
ACCT #: 5354                                                                      NATURE OF LIEN:
                                                                                  Mortgage
Bayview Loan Servicing                                                            COLLATERAL:
                                                                                  2142 Schilling Drive                                             $211,903.00         $56,903.00
4425 Ponce DeLeon Blvd 5th Flr                                  -                 REMARKS:
Coral Gables, FL 33146



                                                                                  VALUE:                           $155,000.00
                                                                                  DATE INCURRED:    Various
ACCT #: 5354                                                                      NATURE OF LIEN:
                                                                                  Mortgage arrears
Bayview Loan Servicing                                                            COLLATERAL:
                                                                                  2142 Schilling Drive                                              $25,000.00
4425 Ponce DeLeon Blvd 5th Flr                                  -                 REMARKS:
Coral Gables, FL 33146



                                                                                  VALUE:                            $25,000.00
                                                                                  DATE INCURRED:
ACCT #: xxx1396                                                                   NATURE OF LIEN:
                                                                                  PMSI
Consumer Portfolio Service                                                        COLLATERAL:
                                                                                  2012 Chevy Traverse                                               $19,647.00             $647.00
PO Box 57071                                                    -                 REMARKS:
Irvine, CA 92619-7071



                                                                                  VALUE:                            $19,000.00
                                                                                                         Subtotal (Total of this Page) >            $257,083.00          $57,783.00
                                                                                                        Total (Use only on last page) >
________________continuation
       1                     sheets attached                                                                                                     (Report also on    (If applicable,
                                                                                                                                                 Summary of         report also on
                                                                                                                                                 Schedules.)        Statistical
                                                                                                                                                                    Summary of
                                                                                                                                                                    Certain Liabilities
                                                                                                                                                                    and Related
                                                                                                                                                                    Data.)
                              Case 15-21093-jra                                          Doc 1        Filed 04/10/15         Page 13 of 47
B6D (Official Form 6D) (12/07) - Cont.
          In re Dan Gene Williams, Jr                                                                                   Case No.
                                                                                                                                                     (if known)



                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS




                                                            HUSBAND, WIFE, JOINT,
          CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                                 AMOUNT OF         UNSECURED




                                                                                                                                 UNLIQUIDATED
            MAILING ADDRESS                                                                    INCURRED, NATURE                                   CLAIM           PORTION, IF




                                                                                                                                  CONTINGENT
                                                              OR COMMUNITY
                                                 CODEBTOR




                                                                                                                                   DISPUTED
        INCLUDING ZIP CODE AND                                                                    OF LIEN, AND                                   WITHOUT             ANY
          AN ACCOUNT NUMBER                                                                     DESCRIPTION AND                                 DEDUCTING
          (See Instructions Above.)                                                                 VALUE OF                                     VALUE OF
                                                                                               PROPERTY SUBJECT                                 COLLATERAL
                                                                                                     TO LIEN
                                                                                    DATE INCURRED:
ACCT #:                                                                             NATURE OF LIEN:
                                                                                    Notice Only
Lake County Treasurer                                                               COLLATERAL:
                                                                                    .                                                             Notice Only       Notice Only
2293 N Main Street                                                -                 REMARKS:
Crown Point, IN 46307



                                                                                    VALUE:                               $0.00




Sheet no. __________
               1       of __________
                                1     continuation sheets attached                                      Subtotal (Total of this Page) >                  $0.00               $0.00
to Schedule of Creditors Holding Secured Claims                                                        Total (Use only on last page) >             $257,083.00          $57,783.00
                                                                                                                                                (Report also on   (If applicable,
                                                                                                                                                Summary of        report also on
                                                                                                                                                Schedules.)       Statistical
                                                                                                                                                                  Summary of
                                                                                                                                                                  Certain Liabilities
                                                                                                                                                                  and Related
                                                                                                                                                                  Data.)
                               Case 15-21093-jra                Doc 1         Filed 04/10/15            Page 14 of 47
B6E (Official Form 6E) (04/13)
In re Dan Gene Williams, Jr                                                                       Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       2                     sheets attached
                               Case 15-21093-jra                                             Doc 1       Filed 04/10/15               Page 15 of 47
B6E (Official Form 6E) (04/13) - Cont.
In re Dan Gene Williams, Jr                                                                                                Case No.
                                                                                                                                                     (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Taxes and Certain Other Debts Owed to Governmental Units




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                       UNLIQUIDATED
                                                                                                                        CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                              AMOUNT         AMOUNT      AMOUNT




                                                                                                                         DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                                 OF         ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                        CLAIM        PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                     PRIORITY, IF
           (See instructions above.)                                                                                                                                 ANY


ACCT #:                                                                          DATE INCURRED:
                                                                                 CONSIDERATION:
Indiana Department of Revenue                                                    State Tax                                               Unknown         Unknown      Unknown
100 N Senate Ave                                                                 REMARKS:
Indianapolis, IN 46204                                           -



ACCT #:                                                                          DATE INCURRED:   2011
                                                                                 CONSIDERATION:
Internal Revenue Service                                                         1040 Tax                                                $2,777.52       $2,254.36      $523.16
PO Box 21126                                                                     REMARKS:
Philadelphia, PA 19114                                           -




Sheet no. __________
               1       of __________
                               2       continuation sheets                                   Subtotals (Totals of this page) >           $2,777.52       $2,254.36      $523.16
attached to Schedule of Creditors Holding Priority Claims                               Total >
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
                               Case 15-21093-jra                                            Doc 1     Filed 04/10/15                 Page 16 of 47
B6E (Official Form 6E) (04/13) - Cont.
In re Dan Gene Williams, Jr                                                                                               Case No.
                                                                                                                                                    (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Domestic Support Obligations




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                             AMOUNT         AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                                OF         ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                       CLAIM        PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                    PRIORITY, IF
           (See instructions above.)                                                                                                                                ANY


ACCT #:                                                                          DATE INCURRED:
                                                                                 CONSIDERATION:
Nicole Marie Williams                                                                                                                      $0.00            $0.00        $0.00
1524 Prince Dr                                                                   REMARKS:
Dyer, IN 46311                                                   -




Sheet no. __________
               2       of __________
                               2       continuation sheets                                  Subtotals (Totals of this page) >              $0.00            $0.00        $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >                                         $2,777.52
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >                                                      $2,254.36      $523.16
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
                            Case 15-21093-jra                                   Doc 1              Filed 04/10/15         Page 17 of 47
B6F (Official Form 6F) (12/07)
  In re Dan Gene Williams, Jr                                                                                        Case No.
                                                                                                                                (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                       DATE CLAIM WAS                                AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                         INCURRED AND                                   CLAIM




                                                                                                                                       CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                    CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                              CLAIM.
             (See instructions above.)                                                             IF CLAIM IS SUBJECT TO
                                                                                                      SETOFF, SO STATE.


ACCT #: xxxxxxxxxx-xxxx0-013                                                          DATE INCURRED:
                                                                                      CONSIDERATION:
Allstate Property & Casualty                                                          Collection                                                          $365.00
c/o Credit Colletion Services                                                         REMARKS:
                                                                  -
Two Wells Ave
Newton Center, MA 02459



Representing:                                                                         Allstate Property & Casualty                                     Notice Only
Allstate Property & Casualty                                                          Processing Center
                                                                                      PO Box 55126
                                                                                      Boston, MA 02205


ACCT #: x7696                                                                         DATE INCURRED:
                                                                                      CONSIDERATION:
AmeriCash Loans                                                                       Payday Loan                                                        $2,700.00
PO Box 184                                                                            REMARKS:
                                                                  -
Des Plaines, IL 60016



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Centier Bank                                                                          Overdraft                                                          Unknown
1121 Shefield Ave                                                                     REMARKS:
                                                                  -
Dyer IN 46311



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Cerastes LLC                                                                          collection                                                          $900.00
c/o Weinstein, Pinson and Riley                                                       REMARKS:
                                                                  -
2001 Western Ave Ste 400
Seattle, WA 98121

ACCT #: xxxxx & xx7668                                                                DATE INCURRED:
                                                                                      CONSIDERATION:
Comprehensive Care                                                                    medical                                                             $451.00
7501 West 15th Ave                                                                    REMARKS:
                                                                  -
Gary IN 46406



                                                                                                                                  Subtotal >              $4,416.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       3                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
                              Case 15-21093-jra                                     Doc 1              Filed 04/10/15     Page 18 of 47
B6F (Official Form 6F) (12/07) - Cont.
  In re Dan Gene Williams, Jr                                                                                        Case No.
                                                                                                                                (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                           DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                             INCURRED AND                               CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                        CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                  CLAIM.
             (See instructions above.)                                                                 IF CLAIM IS SUBJECT TO
                                                                                                          SETOFF, SO STATE.


ACCT #: xxxxxxx1359                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Credit One Bank                                                                           Credit Card                                                     $567.00
PO Box 98873                                                                              REMARKS:
                                                                      -
Las Vegas, NV 89193-8873



ACCT #: 2689                                                                              DATE INCURRED:
                                                                                          CONSIDERATION:
DirecTV                                                                                   Collection                                                      $599.00
c/o NCO Financial Systems                                                                 REMARKS:
                                                                      -
PO Box 17205
Wilmington, DE 19850-7205



 Representing:                                                                            American InfoSource                                          Notice Only
 DirecTV                                                                                  PO Box 51178
                                                                                          Los Angeles, CA 90051



ACCT #: 3099                                                                              DATE INCURRED:
                                                                                          CONSIDERATION:
Enhanced Acquisitions LLC                                                                 collection                                                      $900.00
3840 E Robinson Road Ste 353                                                              REMARKS:
                                                                      -
Buffalo, NY 14228



ACCT #: xxxxxxxx9526                                                                      DATE INCURRED:
                                                                                          CONSIDERATION:
First Premier                                                                             Credit Card                                                     $226.00
3820 N Louise Ave                                                                         REMARKS:
                                                                      -
Sioux Falls, SD 57107-0145



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Hammond Clinic                                                                            Medical                                                           $40.00
c/o Komyatte & Casbon                                                                     REMARKS:
                                                                      -
9650 Gordon Drive
Highland, IN 46322

Sheet no. __________
              1        of __________
                               3     continuation sheets attached to                                                              Subtotal >              $2,332.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                              Case 15-21093-jra                                     Doc 1              Filed 04/10/15     Page 19 of 47
B6F (Official Form 6F) (12/07) - Cont.
  In re Dan Gene Williams, Jr                                                                                        Case No.
                                                                                                                                (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                           DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                             INCURRED AND                               CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                        CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                  CLAIM.
             (See instructions above.)                                                                 IF CLAIM IS SUBJECT TO
                                                                                                          SETOFF, SO STATE.


ACCT #: xxxxxxx3837                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
HSBC Bank                                                                                 Credit Card                                                     $291.00
PO Box 9                                                                                  REMARKS:
                                                                      -
Buffalo, NY 14240



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Midland Credit Management                                                                 collection                                                    $1,517.00
Asset Acceptance                                                                          REMARKS:
                                                                      -
PO Box 2036
Warren, MI 48090

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Midland Funding                                                                           collection                                                      $371.00
PO Box 28941                                                                              REMARKS:
                                                                      -
Oklahoma City, OK 73126



ACCT #: xxx-xxx-009-8                                                                     DATE INCURRED:
                                                                                          CONSIDERATION:
NIPSCO                                                                                    utilities                                                     $1,227.00
PO Box 13007                                                                              REMARKS:
                                                                      -
Merrillville, IN 46411



ACCT #: xxxxx-xxxx-xx-x2813                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Omni 41 Health & Fitness                                                                  lawsuit                                                       $1,474.00
c/o Efron & Efron                                                                         REMARKS:
                                                                      -
5246 Hohman
Hammond, IN 46320

ACCT #: xxxx5189                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Orkin Pest Control                                                                        Services rendered                                                $92.00
2640 E 84th Place                                                                         REMARKS:
                                                                      -
Merrillville, IN 46410



Sheet no. __________
              2        of __________
                               3     continuation sheets attached to                                                              Subtotal >             $4,972.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                              Case 15-21093-jra                                     Doc 1            Filed 04/10/15     Page 20 of 47
B6F (Official Form 6F) (12/07) - Cont.
  In re Dan Gene Williams, Jr                                                                                      Case No.
                                                                                                                              (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                               CLAIM




                                                                                                                                     CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 4720                                                                              DATE INCURRED:
                                                                                          CONSIDERATION:
Smiles by Doctor D                                                                        medical                                                       $257.00
Anthony DiConstanzo                                                                       REMARKS:
                                                                      -
1123 Joliet St
Dyer IN 46311

ACCT #: xxx-xxxx2599                                                                      DATE INCURRED:
                                                                                          CONSIDERATION:
The Community Hospital Anesthesia                                                         Medical                                                     $1,376.00
541 Otis Bowen Dr                                                                         REMARKS:
                                                                      -
Munster IN 46321-4632



ACCT #: xxxxxx3338                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
US Department of Education                                                                Student loan                                                $3,700.00
PO Box 105028                                                                             REMARKS:
                                                                      -
Atlanta, GA 30348-5028




Sheet no. __________
              3        of __________
                               3     continuation sheets attached to                                                            Subtotal >             $5,333.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                   $17,053.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                                 Case 15-21093-jra          Doc 1     Filed 04/10/15         Page 21 of 47
B6G (Official Form 6G) (12/07)
   In re Dan Gene Williams, Jr                                                          Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
                                 Case 15-21093-jra               Doc 1        Filed 04/10/15             Page 22 of 47
B6H (Official Form 6H) (12/07)
In re Dan Gene Williams, Jr                                                                        Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
                              Case 15-21093-jra               Doc 1        Filed 04/10/15                    Page 23 of 47
 Fill in this information to identify your case:
     Debtor 1              Dan                  Gene                   Williams, Jr
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing post-petition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF INDIANA
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Builder CC
      Include part-time, seasonal,
      or self-employed work.            Employer's name        BP Oil

      Occupation may include            Employer's address     30 South Wacker Dr Ste 900
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Chicago                      IL       60606
                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        9 yrs


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $8,231.17
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $8,231.17




Official Form B 6I                                            Schedule I: Your Income                                                                page 1
                                     Case 15-21093-jra                           Doc 1             Filed 04/10/15                      Page 24 of 47
Debtor 1 Dan                                  Gene                               Williams, Jr                                    Case number (if known)
           First Name                         Middle Name                        Last Name


                                                                                                                    For Debtor 1                 For Debtor 2 or
                                                                                                                                                 non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $8,231.17
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.           $1,633.43
     5b. Mandatory contributions for retirement plans                                                       5b.               $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.               $0.00
     5d. Required repayments of retirement fund loans                                                       5d.               $0.00
     5e. Insurance                                                                                          5e.            $238.42
     5f. Domestic support obligations                                                                       5f.           $1,841.67
     5g. Union dues                                                                                         5g.              $56.80
     5h. Other deductions.
          Specify: See continuation sheet                                                                   5h. +              $70.94
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.            $3,841.26
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $4,389.91
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.

     8b. Interest and dividends                                                                             8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                          8d.                  $0.00
     8e. Social Security                                                                                    8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                   $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                          10.           $4,389.91          +                       =       $4,389.91
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                12.             $4,389.91
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                         Combined
                                                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form B 6I                                                               Schedule I: Your Income                                                                          page 2
                          Case 15-21093-jra   Doc 1       Filed 04/10/15              Page 25 of 47
Debtor 1 Dan                    Gene          Williams, Jr                      Case number (if known)
          First Name            Middle Name   Last Name




                                                                       For Debtor 1       For Debtor 2 or
                                                                                          non-filing spouse
5h. Other Payroll Deductions (details)
     Life insurance                                                           $62.14
     Disability                                                                $8.80

                                                             Totals:          $70.94




Official Form B 6I                            Schedule I: Your Income                                         page 3
                              Case 15-21093-jra                  Doc 1         Filed 04/10/15             Page 26 of 47
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Dan                    Gene                   Williams, Jr                        An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF INDIANA                                   MM / DD / YYYY
     Case number                                                                                               A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  daughter                            9
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.                                                          son                                 6
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                  daughter                            4
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $100.00
      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1
                               Case 15-21093-jra            Doc 1       Filed 04/10/15          Page 27 of 47
Debtor 1 Dan                        Gene                    Williams, Jr                    Case number (if known)
            First Name              Middle Name             Last Name


                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                    6a.                   $280.00
     6b. Water, sewer, garbage collection                                                                  6b.                   $140.00
     6c. Telephone, cell phone, Internet, satellite, and           (See continuation sheet(s) for details) 6c.                   $200.00
         cable services
     6d. Other. Specify:                                                                                   6d.

7.   Food and housekeeping supplies                                                                        7.                    $400.00
8.   Childcare and children's education costs                                                              8.

9.   Clothing, laundry, and dry cleaning                                                                   9.                    $100.00
10. Personal care products and services                                                                    10.                    $50.00
11. Medical and dental expenses                                                                            11.                   $100.00
12. Transportation. Include gas, maintenance, bus or train                                                 12.                   $350.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.
    magazines, and books
14. Charitable contributions and religious donations                                                       14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                                15a.

     15b.    Health insurance                                                                              15b.

     15c.    Vehicle insurance                                                                             15c.                  $140.00
     15d.    Other insurance. Specify:                                                                     15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                                    17a.

     17b.    Car payments for Vehicle 2    Use of dad's vehicle                                            17b.

     17c.    Other. Specify:                                                                               17c.                  $300.00
     17d.    Other. Specify:                                                                               17d.

18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                                   20a.

     20b.    Real estate taxes                                                                             20b.

     20c.    Property, homeowner's, or renter's insurance                                                  20c.

     20d.    Maintenance, repair, and upkeep expenses                                                      20d.

     20e.    Homeowner's association or condominium dues                                                   20e.



 Official Form B 6J                                         Schedule J: Your Expenses                                               page 2
                            Case 15-21093-jra                Doc 1      Filed 04/10/15            Page 28 of 47
Debtor 1 Dan                      Gene                     Williams, Jr                       Case number (if known)
           First Name             Middle Name              Last Name


21. Other. Specify: bank fees & stamps                                                                       21.    +     $20.00
22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.        $2,180.00
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $4,389.91
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –   $2,180.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.       $2,209.91

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                         page 3
                           Case 15-21093-jra               Doc 1       Filed 04/10/15    Page 29 of 47
Debtor 1 Dan                      Gene                    Williams, Jr                Case number (if known)
         First Name               Middle Name             Last Name



6c. Telephone, cell phone, Internet, satellite, and cable services (details):
    cell phone                                                                                                 $110.00
    home phone                                                                                                  $30.00
    iternet                                                                                                     $60.00

                                                                                            Total:             $200.00




 Official Form B 6J                                       Schedule J: Your Expenses                               page 4
                             Case 15-21093-jra             Doc 1    Filed 04/10/15        Page 30 of 47
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF INDIANA
                                                     HAMMOND DIVISION
   In re Dan Gene Williams, Jr                                                       Case No.

                                                                                     Chapter      13



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes      1                $155,000.00


 B - Personal Property                            Yes      4                 $25,430.00


 C - Property Claimed                             Yes      1
     as Exempt
 D - Creditors Holding                            Yes      2                                        $257,083.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      3                                            $2,777.52
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      4                                           $17,053.00
     Nonpriority Claims
 G - Executory Contracts and                      Yes      1
    Unexpired Leases

 H - Codebtors                                    Yes      1


 I - Current Income of                            Yes      3                                                                 $4,389.91
     Individual Debtor(s)
 J - Current Expenditures of                      Yes      4                                                                 $2,180.00
    Individual Debtor(s)

                                             TOTAL         24               $180,430.00             $276,913.52
                             Case 15-21093-jra            Doc 1     Filed 04/10/15         Page 31 of 47
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF INDIANA
                                                     HAMMOND DIVISION
   In re Dan Gene Williams, Jr                                                        Case No.

                                                                                      Chapter       13



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                      $2,777.52
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                              $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                    $1,517.00

 Domestic Support, Separation Agreement, and Divorce Decree                        $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar                       $0.00
 Obligations (from Schedule F)

                                                            TOTAL              $4,294.52

State the following:

 Average Income (from Schedule I, Line 12)                                     $4,389.91

 Average Expenses (from Schedule J, Line 22)                                   $2,180.00

 Current Monthly Income (from Form 22A-1 Line 11; OR, Form
 22B Line 14; OR, Form 22C-1 Line 14)                                          $7,000.38

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                             $57,783.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                       $2,254.36

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $523.16

 4. Total from Schedule F                                                                           $17,053.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $75,359.16
                             Case 15-21093-jra           Doc 1       Filed 04/10/15          Page 32 of 47
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Dan Gene Williams, Jr                                                            Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 26
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 4/8/2015                                                Signature    /s/ Dan Gene Williams, Jr
                                                                         Dan Gene Williams, Jr

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
                                 Case 15-21093-jra                Doc 1         Filed 04/10/15             Page 33 of 47
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF INDIANA
                                                         HAMMOND DIVISION
   In re:   Dan Gene Williams, Jr                                                                    Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $16,828.00                  2015 BP ytd

        $99,311.00                  2014 BP

        $103,898.00                 2013 BP

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                              COURT OR AGENCY                 STATUS OR
        CASE NUMBER                                    NATURE OF PROCEEDING              AND LOCATION                    DISPOSITION
        Alberts Diamond Jewelers Inc                   collection                        Lake Superior Court             judgment
        Dan Williams Jr                                                                  Gary, IN
        45D07-1403-SC-00383
                                Case 15-21093-jra                Doc 1        Filed 04/10/15            Page 34 of 47
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF INDIANA
                                                        HAMMOND DIVISION
   In re:   Dan Gene Williams, Jr                                                                 Case No.
                                                                                                                          (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        NAME AND ADDRESS OF PERSON FOR WHOSE                                                      DESCRIPTION AND VALUE
        BENEFIT PROPERTY WAS SEIZED                                      DATE OF SEIZURE          OF PROPERTY
        Indiana Dept of Revenue                                          2014                     Centier Bank Checking
        100 N Senate Ave                                                                          $633
        Indianapolis, IN 46204

       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                     DATE OF PAYMENT,
                                                                     NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                    OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Scott Pyle                                                   04/01/2015                       $290.00 plus filing fee
        275 Joliet St Ste 330
        Dyer, IN 46311

        Ricardo B Casas                                              9/2014                           $970
        8949 Kennedy Ave
        Hammond, IN 46323
                                Case 15-21093-jra                 Doc 1        Filed 04/10/15            Page 35 of 47
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF INDIANA
                                                        HAMMOND DIVISION
   In re:   Dan Gene Williams, Jr                                                                  Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
                                                                      TYPE OF ACCOUNT, LAST FOUR
                                                                      DIGITS OF ACCOUNT NUMBER,                 AMOUNT AND DATE OF
        NAME AND ADDRESS OF INSTITUTION                               AND AMOUNT OF FINAL BALANCE               SALE OR CLOSING
        Centier Bank                                                  checking account                          2014 $0
        600 E 84th Ave
        Merrillville, IN 4610

       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.


       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.
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B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF INDIANA
                                                         HAMMOND DIVISION
   In re:   Dan Gene Williams, Jr                                                                   Case No.
                                                                                                                            (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
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   In re:   Dan Gene Williams, Jr                                                                     Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within TWO YEARS immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
       commencement of this case.


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
       preceding the commencement of this case.
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                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 5



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 4/8/2015                                                           Signature          /s/ Dan Gene Williams, Jr
                                                                        of Debtor          Dan Gene Williams, Jr

Date                                                                    Signature
                                                                        of Joint Debtor
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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B 201B (Form 201B) (12/09)              UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF INDIANA
                                                HAMMOND DIVISION
In re Dan Gene Williams, Jr                                                               Case No.

                                                                                          Chapter            13



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Dan Gene Williams, Jr                                               X    /s/ Dan Gene Williams, Jr                         4/8/2015
                                                                        Signature of Debtor                                Date
Printed Name(s) of Debtor(s)
                                                                    X
Case No. (if known)                                                     Signature of Joint Debtor (if any)                 Date

                         Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,                   Scott Pyle                     , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Scott Pyle
Scott Pyle, Attorney for Debtor(s)
Bar No.:
Erich Pavel III
275 Joliet St. Ste 330
Dyer, IN 46311
Phone: (219) 322-8222
Fax: (219) 322-6675




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.
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FB 201A (Form 201A) (6/14)


                                          UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling
and provides assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies. Each debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.
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Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $75 administrative fee: Total fee $310)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $75 administrative fee: Total fee $275)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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                                                   HAMMOND DIVISION
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                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                 $3,400.00
     Prior to the filing of this statement I have received:                                         $290.00
     Balance Due:                                                                                 $3,110.00

2. The source of the compensation paid to me was:
                  Debtor                       Other (specify)

3. The source of compensation to be paid to me is:
                  Debtor                       Other (specify)

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

         I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                        4/8/2015                              /s/ Scott Pyle
                          Date                                Scott Pyle                               Bar No.




      /s/ Dan Gene Williams, Jr
     Dan Gene Williams, Jr
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                                                                                   CHAPTER        13

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 4/8/2015                                            Signature    /s/ Dan Gene Williams, Jr
                                                                     Dan Gene Williams, Jr



Date                                                     Signature
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            Alberts Diamond Jewelers
            711 Main Street
            Schererville, IN 46375



            Allstate Property & Casualty
            c/o Credit Colletion Services
            Two Wells Ave
            Newton Center, MA 02459


            Allstate Property & Casualty
            Processing Center
            PO Box 55126
            Boston, MA 02205


            American InfoSource
            PO Box 51178
            Los Angeles, CA 90051



            AmeriCash Loans
            PO Box 184
            Des Plaines, IL     60016



            Bayview Loan Servicing
            4425 Ponce DeLeon Blvd 5th Flr
            Coral Gables, FL 33146



            Centier Bank
            1121 Shefield Ave
            Dyer IN 46311



            Cerastes LLC
            c/o Weinstein, Pinson and Riley
            2001 Western Ave Ste 400
            Seattle, WA 98121


            Comprehensive Care
            7501 West 15th Ave
            Gary IN 46406
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            Consumer Portfolio Service
            PO Box 57071
            Irvine, CA 92619-7071



            Credit One Bank
            PO Box 98873
            Las Vegas, NV 89193-8873



            DirecTV
            c/o NCO Financial Systems
            PO Box 17205
            Wilmington, DE 19850-7205


            Enhanced Acquisitions LLC
            3840 E Robinson Road Ste 353
            Buffalo, NY 14228



            First Premier
            3820 N Louise Ave
            Sioux Falls, SD 57107-0145



            Hammond Clinic
            c/o Komyatte & Casbon
            9650 Gordon Drive
            Highland, IN 46322


            HSBC Bank
            PO Box 9
            Buffalo, NY     14240



            Indiana Department of Revenue
            100 N Senate Ave
            Indianapolis, IN 46204



            Internal Revenue Service
            PO Box 21126
            Philadelphia, PA 19114
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            Lake County Treasurer
            2293 N Main Street
            Crown Point, IN 46307



            Midland Credit Management
            Asset Acceptance
            PO Box 2036
            Warren, MI 48090


            Midland Funding
            PO Box 28941
            Oklahoma City, OK     73126



            Nicole Marie Williams
            1524 Prince Dr
            Dyer, IN 46311



            NIPSCO
            PO Box 13007
            Merrillville, IN    46411



            Omni 41 Health & Fitness
            c/o Efron & Efron
            5246 Hohman
            Hammond, IN 46320


            Orkin Pest Control
            2640 E 84th Place
            Merrillville, IN 46410



            Smiles by Doctor D
            Anthony DiConstanzo
            1123 Joliet St
            Dyer IN 46311


            The Community Hospital Anesthesia
            541 Otis Bowen Dr
            Munster IN 46321-4632
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            US Department of Education
            PO Box 105028
            Atlanta, GA 30348-5028
